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                UNITED STATES COURT OF INTERNATIONAL TRADE

                                                 )
SOLAR ENERGY INDUSTRIES                          )
ASSOCIATION, NEXTERA ENERGY, INC.,               )
INVENERGY RENEWABLES LLC, and EDF                )
RENEWABLES, INC.,                                )
                                                 )
                         Plaintiffs,             )
                                                 )
        v.                                       )
                                                 )
 UNITED STATES, UNITED STATES                    )           Court No. 20-03941
 CUSTOMS AND BORDER PROTECTION ,                 )
 and MARK A. MORGAN, in his official capacity )
 as Acting Commissioner of United States Customs )
 and Border Protection,                          )
                                                 )
                         Defendants.             )
                                                 )


                                         COMPLAINT

       1.      Plaintiffs the Solar Energy Industries Association (“SEIA”), NextEra Energy, Inc.

(“NextEra”), Invenergy Renewables LLC (“Invenergy”), and EDF Renewables, Inc. (“EDF-R”),

by and through their attorneys, bring this action to challenge Presidential Proclamation 10101 of

October 10, 2020. To Further Facilitate Positive Adjustment to Competition From Imports of

Certain Crystalline Silicon Photovoltaic Cells (Whether or Not Partially or Fully Assembled Into

Other Products), 85 Fed. Reg. 65,639 (Oct. 16, 2020) (“Modification Proclamation”). The

Modification Proclamation will result in imposition of hundreds of millions of dollars in

additional tariffs on imported crystalline silicon photovoltaic (“CSPV”) solar panels, which are

essential to the deployment of clean, solar energy in the United States.

       2.      The Modification Proclamation reflects the latest attempt by the Trump

Administration to increase Section 201 safeguard duties on imported solar panels. The Trump
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Administration twice previously sought to withdraw the exclusion of bifacial solar panels from

the CSPV safeguard measure. Both of those attempts were enjoined as likely unlawful, because

the Trump Administration had failed to abide by the requirements of the Administrative

Procedure Act and had failed to offer a reasoned basis for withdrawing the exclusion—an

exclusion that the Trump Administration had previously found to be consistent with the

objectives of the safeguard measure.

       3.      While the prior attempts to withdraw the bifacial module exclusion remained

enjoined, President Trump issued the Modification Proclamation, which again withdrew the

exclusion for bifacial solar panels. President Trump further asserted that the exclusion that the

Administration had granted for bifacial solar panels had impaired the remedial effect of the

CSPV safeguard measure. President Trump then relied on that finding to justify an increase in

the tariff rate for all CSPV products in the fourth year of the CSPV safeguard measure, from

15% to 18%.

       4.      The Modification Proclamation is just as unlawful as the Trump Administration’s

prior attempts to withdraw the bifacial module exclusion, albeit for different reasons. In issuing

the Modification Proclamation, President Trump relied on a statutory provision that was intended

to be used to liberalize trade when the protections of the original safeguard measure are no

longer necessary. Instead, he used this provision to increase restrictions on trade. Moreover,

President Trump failed to make the findings that the statute requires before a safeguard measure

can be modified pursuant to the provision he invoked. President Trump additionally failed to

abide by the procedures established by Congress for re-imposing safeguard duties on articles that

had previously been subject to safeguard duties. In these respects, the Modification

Proclamation is similar to the prior attempts to withdraw the bifacial panel exclusion, as the



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Trump Administration has failed to follow the required procedures and to make the necessary

findings before acting.

       5.       The imposition of safeguard duties is an extraordinary act. Congress created a

statutory scheme that is intended to balance the interests of all affected parties, and the

procedures that Congress created for imposing and modifying safeguard measures were meant to

be followed. The President cannot ignore them or rewrite them himself in order to achieve his

desired policy outcomes. Plaintiffs accordingly ask that the President be required to abide by the

law and for the Modification Proclamation to be enjoined and set aside.

                                          THE PARTIES

       6.       Plaintiff the Solar Energy Industries Association is a 501(c)(6) non-profit trade

association organized under the laws of the District of Columbia and headquartered in

Washington, D.C. SEIA is the national trade association for the U.S. solar industry, with

hundreds of member companies. SEIA members include companies throughout the solar value

chain, including importers, manufacturers, distributors, installers, and project developers.

       7.       Plaintiff NextEra Energy, Inc. is a leading clean energy company incorporated in

Florida and headquartered in Juno Beach, Florida. NextEra is one of the largest electric power

and energy infrastructure companies in North America and a leader in the renewable energy

industry.

       8.       Plaintiff Invenergy Renewables, LLC, is the world’s leading independent and

privately-held renewable energy company. Its home office is located in Chicago, Illinois, and it

has regional development offices throughout the United States. Invenergy develops, owns, and

operates large-scale renewable and other clean energy generation facilities around the world.




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        9.      Plaintiff EDF Renewables, Inc. is a corporation organized under the laws of the

state of Delaware and headquartered in San Diego, California. EDF-R has more than 30 years of

expertise in the renewable energy industry. The primary technology focus of EDF-R is

renewable energy—wind, solar, energy storage, and offshore wind.

        10.     Defendant United States is the federal government of the United States of

America.

        11.     Defendant United States Customs and Border Protection is an executive agency of

the U.S. Government and a component of the Department of Homeland Security. It is

headquartered at 1300 Pennsylvania Avenue, N.W., Washington, D.C. 20229.

        12.     Defendant Mark A. Morgan is the Acting Commissioner of CBP. He is sued in

his official capacity.

                                          JURISDICTION

        13.     This Court has jurisdiction pursuant to 28 U.S.C. § 1581(i)(1)(B)-(D).

        14.     The tariff rate quota on solar cells and the additional tariff imposed on solar

modules, including those ordered to be re-imposed on bifacial solar modules, were imposed

pursuant to Section 201 of the Trade Act of 1974. Chapter 1 of title II of the Trade Act of 1974,

which includes Section 201, is a law “providing for . . . tariffs, duties, fees, or other taxes on the

importation of merchandise for reasons other than the raising of revenue” and “quantitative

restrictions on the importation of merchandise for reasons other than the protection of the public

health or safety.” This action thus arises out of a law described in 28 U.S.C. § 1581(i)(1)(B) and

(C).

        15.     Plaintiffs seek a declaration that the Modification Proclamation is unlawful and an

injunction prohibiting its enforcement. Plaintiffs’ claims thus also arise out of the



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“administration and enforcement with respect to matters referred to in subparagraphs (A) through

(C)” of 28 U.S.C. § 1581(i)(1), and the Court therefore has jurisdiction under 28 U.S.C.

§ 1581(i)(1)(D) as well.

                                            STANDING

       16.       As parties adversely affected or aggrieved by the increase in safeguard duties

stemming from the Modification Proclamation, Plaintiffs have standing to challenge the

Proclamation and resulting duties.

       17.       NextEra, Invenergy, and EDF-R source imported solar modules, including

bifacial solar modules, for use in the development of their solar projects. These modules are

directly subject to the challenged Modification Proclamation. NextEra, Invenergy, and EDF-R

face substantial injury as a result of the re-imposition of safeguard duties on bifacial CSPV

panels and the increase in the duty rate on imported CSPV panels in the fourth year of the

safeguard measure. The increased duties are being passed on to NextEra, Invenergy, and EDF-R

by their suppliers who are incurring the duties, which increases the companies’ costs of doing

business and reduces their ability to expand the development of solar projects throughout the

United States.

       18.       NextEra and EDF-R periodically act as importers of record for entries of solar

panels. In those instances, NextEra and EDF-R would be directly responsible for payment of

safeguard duties.

       19.       SEIA, in turn, has standing to bring this suit on behalf of its members, who are

adversely affected by the Modification Proclamation and the additional duties collected by CBP.

“[A]n association has standing to bring suit on behalf of its members when: (a) its members

would otherwise have standing to sue in their own right; (b) the interests it seeks to protect are



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germane to the organization’s purpose; and (c) neither the claim asserted nor the relief requested

requires the participation of individual members in the lawsuit.” Biotech. Indus. v. District of

Columbia, 496 F.3d 1362, 1369 (Fed. Cir. 2007) (quoting United Food & Commercial Workers

v. Brown Group, 517 U.S. 544, 553 (1996)).

       20.     Members of SEIA would have standing to sue in their own right because they are

adversely affected or aggrieved by the challenged action. SEIA’s members include importers,

purchasers, and users of the imported solar products subject to the safeguard action, who will pay

directly or indirectly for the increased tariffs announced in the Modification Proclamation. The

interest that SEIA seeks to protect in this lawsuit is germane to its purpose. SEIA’s

organizational interest is to grow solar energy in the United States, and the Modification

Proclamation threatens that interest in that the increased tariffs raise costs and reduce the

competitiveness of solar energy. Finally, although certain individual SEIA members are

participating in this action (Invenergy and EDF-R), the legal claims raised by SEIA and the

declaratory judgment and injunction requested below do not “require” the participation of

individual SEIA members as plaintiffs in the lawsuit because the claims and relief are not

member-specific.

                               TIMELINESS OF THIS ACTION

       21.     An action under 28 U.S.C. § 1581(i) must be commenced within two years after

the cause of action first accrues. 28 U.S.C. § 2636(i).

       22.     The Modification Proclamation was published in the Federal Register on October

16, 2020. Plaintiffs’ claims accrued, at the earliest, on the date that the Modification

Proclamation published in the Federal Register. Plaintiffs have therefore timely filed this action.




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                HISTORY REGARDING THE CHALLENGED CONDUCT

Issuance of the Solar Safeguard Measure

       23.     On May 23, 2017, the U.S. International Trade Commission (“ITC”) initiated a

“safeguard” investigation under Chapter 1 of title II of the Trade Act of 1974, 19 U.S.C. § 2251

et seq., of CSPV cells (whether or not partially assembled into other products). See Crystalline

Silicon Photovoltaic Cells’ (Whether or Not Partially or Fully Assembled Into Other Products);

Institution and Scheduling of Safeguard Investigation and Determination That the Investigation

Is Extraordinarily Complicated, 82 Fed. Reg. 25,331 (Int’l Trade Comm’n June 1, 2017). CSPV

cells are products that convert the sun’s energy into electricity.

       24.     On November 13, 2017, the ITC transmitted to the President a report on its

investigation, finding that certain CSPV products were being imported into the United States in

such increased quantities as to be a substantial cause of serious injury, or threat of serious injury,

to the domestic industry producing a like or directly competitive article. See Presidential

Proclamation 9693, To Facilitate Positive Adjustment to Competition From Imports of Certain

Crystalline Silicon Photovoltaic Cells (Whether or Not Partially or Fully Assembled Into Other

Products) and for Other Purposes, 83 Fed. Reg. 3541, 3541 (Jan. 25, 2018). The ITC submitted

a supplemental report on December 27, 2017 identifying unforeseen developments that led to the

importation of CSPV products into the United States in such increased quantities as to be a

substantial cause of serious injury. Id.

       25.     Following receipt of the ITC reports and the Commissioners’ recommendations

regarding the appropriate actions to address the serious injury to the domestic industry, the

President issued Proclamation 9693 on January 23, 2018, imposing a safeguard measure of a

type described in Section 203(a)(3) of the Trade Act with regard to certain CSPV products. See



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id. at 3541-51. As relevant to this case, the President imposed a tariff rate quota on CSPV cells

and an additional duty on CSPV modules at the following rates:

               If entered during the period from
               February 7, 2018 through February 6, 2019 . . . . . . . . . 30%

               If entered during the period from
               February 7, 2019 through February 6, 2020 . . . . . . . . . 25%

               If entered during the period from
               February 7, 2020 through February 6, 2021 . . . . . . . . . 20%

               If entered during the period from
               February 7, 2021 through February 6, 2022 . . . . . . . . . 15%


Exclusion of Bifacial CSPV Modules

       26.     Presidential Proclamation 9693 also provided that “[w]ithin 30 days after the date

of this proclamation, the USTR [United States Trade Representative] shall publish in the Federal

Register procedures for requests for exclusion of a particular product from the safeguard measure

established in this proclamation. If the USTR determines, after consultation with the Secretaries

of Commerce and Energy, that a particular product should be excluded, the USTR is authorized,

upon publishing a notice of such determination in the Federal Register, to modify the HTS

provisions created by Annex I to this proclamation to exclude such particular product from the

safeguard measure . . . .” Id. at 3543-44.

       27.     On February 14, 2018, USTR published a notice setting out the procedures to

request a product exclusion and opened a public docket on the Federal eRulemaking Portal,

http://www.regulations.gov, for the submission of exclusion requests and comments regarding

submitted requests. See Procedures To Consider Additional Requests for Exclusion of

Particular Products From the Solar Products Safeguard Measure, 83 Fed. Reg. 6670 (USTR

Feb. 14, 2018). USTR’s notice did not restrict who could request an exclusion. See id. USTR


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required exclusion requests to be received by March 16, 2018 and any responsive comments to

be received by April 16, 2018. See id. at 6670, 6672. USTR stated that it would “evaluate each

request on a case-by-case basis” and “grant only those exclusions that do not undermine the

objectives of the safeguard measures.” Id. at 6671. The notice establishing the exclusion

process did not include any reference to the possibility that a granted exclusion could be

modified or withdrawn at a later date.

       28.     Several interested parties timely filed exclusion requests with USTR or

commented on exclusion requests for bifacial modules and bifacial solar cells filed with USTR,

which are products that absorb light and generate electricity on each side of the panel or cell.

See Exclusion of Particular Products From the Solar Products Safeguard Measure, 84 Fed. Reg.

27,684, 27,684 (USTR June 13, 2019). Several SEIA members participated in the development

of a request submitted by Pine Gate Renewables LLC to USTR for the exclusion of bifacial

modules.

       29.     Because light is absorbed and electricity is generated from each side of a bifacial

solar panel, bifacial panels increase total energy production. A single bifacial module increases

energy output between 5% and 20%, which means that for the same project, using monofacial

modules would require more panels, more racking, more land, and more foundation to achieve

the same energy output.

       30.     On June 13, 2019, USTR published a notice in the Federal Register granting an

exclusion from the safeguards action for “bifacial solar panels that absorb light and generate

electricity on each side of the panel and that consist of only bifacial solar cells that absorb light

and generate electricity on each side of the cells.” Exclusion of Particular Products From the

Solar Products Safeguard Measure, 84 Fed. Reg. at 27,685. In granting the exclusion, USTR



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stated that it had evaluated the factors laid out in the February 14, 2018 notice, including the

requirement that the exclusion not undermine the objectives of the safeguard measures. See id.

at 27,684. USTR’s notice did not contain any indication that the granted exclusion might be re-

visited, modified, or withdrawn in the future.

       31.     Many companies, including Plaintiffs, relied on the exclusion in establishing the

price of modules to be used in their contracts. Solar projects take years to develop and

coordination is required at multiple levels. Project success depends on all elements of the

project—including the supply and pricing of equipment, obtaining requisite permits, project

financing, timely construction, interconnection to the electric grid, and entering into power

purchase agreements with utility customers—coming together at the right time. Because solar

modules are the primary components of a solar project, any variation in their price or an inability

to timely procure modules will drastically impact the viability of the solar project and may

threaten the project altogether.

USTR’s Attempts to Withdraw the Bifacial CSPV Module Exclusion and Resulting Litigation

       32.     On October 9, 2019, USTR published a notice in the Federal Register that the

exclusion for bifacial solar panels would be withdrawn, effective October 28, 2019, meaning that

imported bifacial CSPV products would again be subject to the CSPV safeguard action. See

Withdrawal of Bifacial Solar Panels Exclusion to the Solar Products Safeguard Measure, 84

Fed. Reg. 54,244 (USTR Oct. 9, 2019). The withdrawal of the bifacial module exclusion was

not subject to any formal notice and comment.

       33.     Invenergy instituted an action in the U.S. Court of International Trade challenging

the withdrawal of the bifacial panel exclusion by filing a summons, complaint, and motion for a

temporary restraining order. See Invenergy Renewables, LLC et al. v. United States et al., Court



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No. 19-00192 (Ct. Int’l Trade). SEIA and EDF-R intervened in that action as a plaintiff-

intervenors.

       34.     On November 7, 2019, the Court issued a temporary restraining order preventing

USTR’s initial withdrawal of the bifacial module exclusion from going into effect, and the Court

extended the temporary restraining order by 14 days on November 21, 2019. The Court issued a

preliminary injunction on December 5, 2019, prohibiting the withdrawal of the bifacial module

exclusion “until entry of final judgment as to Plaintiffs’ claims against Defendants in this case.”

Invenergy Renewables LLC v. United States, 422 F. Supp. 3d 1255, 1295 (2019).

       35.     In its opinion accompanying the preliminary injunction order, the Court

concluded that Invenergy, SEIA, EDF-R, and other plaintiff-intervenors had standing to

challenge the withdrawal of the bifacial module exclusion. Id. at 1271, 1279-80. The Court then

went on to address the four factors traditionally associated with requests for preliminary

injunctions: (1) whether the plaintiff is likely to succeed on the merits; (2) whether the plaintiff

likely would suffer irreparable harm without the preliminary injunction; (3) whether the balance

of hardships favors the plaintiff; and (4) whether the preliminary injunction would serve the

public interest. The Court concluded that all four factors weighed in favor of issuing a

preliminary injunction. Id. at 1280. On the issue of likelihood of success, the Court concluded

that the plaintiffs had established a fair likelihood of success that USTR violated the notice-and-

comment rulemaking requirements of the Administrative Procedure Act (“APA”). Id. at 1281-

87. The Court also concluded that USTR’s decision to withdraw the bifacial module exclusion

was likely arbitrary and capricious. Id. at 1287-88.

       36.     Following entry of the preliminary injunction, USTR published a notice in the

Federal Register establishing a procedure to consider the withdrawal of the bifacial module



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exclusion and inviting comments as to whether USTR “should maintain the exclusion of bifacial

solar panels from the safeguard measure, withdraw the exclusion, or take some other action

within his authority with respect to this exclusion.” See Procedures To Consider Retention or

Withdrawal of the Exclusion of Bifacial Solar Panels From the Safeguard Measure on Solar

Products, 85 Fed. Reg. 4756, 4756 (USTR Jan. 27, 2020). USTR stated that “[i]f the U.S. Trade

Representative determines after receipt of comments pursuant to this notice that it would be

appropriate to withdraw the bifacial module exclusion or take some other action with respect to

this exclusion, the U.S. Trade Representative will request that the Court lift the injunction”

against withdrawing the exclusion. Id.

       37.     SEIA and several of its members, including Invenergy and EDF-R, timely

submitted comments and information in support of maintaining the bifacial module exclusion

and suggested certain modifications to the exclusion that would address the main concerns that

had been raised regarding the impact on domestic CSPV module manufacturers of excluding all

bifacial CSPV modules.

       38.     Following this comment process, USTR published a determination in the Federal

Register on April 17, 2020 again stating that the bifacial module exclusion should be completely

withdrawn. Determination on the Exclusion of Bifacial Solar Panels From the Safeguard

Measure on Solar Products, 85 Fed. Reg. 21,497 (USTR Apr. 17, 2020) (hereinafter, the “April

USTR Notice”). The April USTR Notice explained that “the U.S. Trade Representative will

request that the U.S. Court of International Trade lift the order preliminarily enjoining the

withdrawal from entering into effect.” Id. at 21,497. The April USTR Notice failed to cite to or

discuss any individual submission that was placed on the record by interested parties, and many




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of the arguments and proposals raised by SEIA and its members were left completely

unaddressed.

       39.     The Government first moved to lift the preliminary injunction on April 16, 2020,

the day before the April USTR Notice was actually published in the Federal Register. On May

27, 2020, the Court issued an opinion denying the Government’s motion to dissolve the

preliminary injunction, finding that the Government had not proved sufficiently changed

circumstances to dissolve the preliminary injunction. Invenergy Renewables LLC v. United

States, 450 F. Supp. 3d 1347, 1363-64 (2020). The Court also granted the motions of Invenergy,

SEIA, EDF-R, and the other plaintiff-intervenors to amend their complaints to include a

challenge to the April USTR Notice. Id. at 1358.

       40.     In response to the Court’s May 27, 2020 opinion, USTR published a notice on

June 12, 2020 purporting to rescind USTR’s original October 2019 notice withdrawing the

bifacial module exclusion. Rescission of the First Withdrawal of the Bifacial Solar Panels

Exclusion From the Safeguard Measure on Solar Products, 85 Fed. Reg. 35,975 (USTR June 12,

2020). On the same day, the Government filed a renewed motion to dissolve the preliminary

injunction.

       41.     The Court issued an opinion on October 15, 2020, denying the Government’s

second motion to dissolve the preliminary injunction and granting the plaintiffs’ cross-motion to

modify the preliminary injunction to explicitly cover the April USTR Notice. Invenergy

Renewables LLC v. United States, No. 19-00192, 2020 WL 6075674 (Ct. Int’l Trade Oct. 15,

2020). The Court held that the April USTR Notice was likely arbitrary and capricious, which

warranted modification of the preliminary injunction. Id. at *9. The Court further held on the

merits that USTR’s original October 2019 notice violated the APA for the reasons stated in the



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December 5, 2019 opinion accompanying the preliminary injunction order. Id. at *7. The Court

therefore vacated USTR’s original withdrawal notice. Id.

Presidential Modification Proclamation

        42.    Just days prior to the issuance of the Court’s October 15, 2020 opinion, President

Trump issued the Modification Proclamation, effective October 25, 2020. 85 Fed. Reg. at

65,640-42. The Modification Proclamation was published in the Federal Register on October 16,

2020.

        43.    The Modification Proclamation—the Government’s third attempt to withdraw the

bifacial CSPV module exclusion—had three primary effects.

        44.    First, the Modification Proclamation re-imposed Section 201 safeguard duties on

bifacial modules. Id. at 65,640, 65,642.

        45.    Second, the Modification Proclamation also increased Section 201 safeguard

tariffs on imported CSPV products, including but not limited to bifacial CSPV modules, in year

four of the CSPV safeguard measure (February 7, 2021 through February 6, 2022) from 15% to

18%. The stated rationale for this tariff increase was that the exclusion of bifacial modules had

supposedly impaired the remedial effect of the original safeguard measure.

        46.    Finally, the Modification Proclamation modified the HTS to reflect the re-

imposition of Section 201 safeguard duties on bifacial CSPV modules and the increase in the

Section 201 duty rate for year four of the CSPV safeguard measure. Id. at 65,640-42.

        47.    As authority for the action taken in the Modification Proclamation, the President

cited section 204(b)(1)(B) of the Trade Act of 1974, 19 U.S.C. § 2254(b)(1)(B), which allows the

President to reduce, modify, or terminate Section 201 safeguard measures if he “determines, after

a majority of the representatives of the domestic industry submits to the President a petition



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requesting such reduction, modification or termination on such basis, that the domestic industry

has made a positive adjustment to import competition.” The President asserted that he had

received a petition from the domestic industry, and he found that the domestic industry “has

begun to make positive adjustments to import competition.” 85 Fed. Reg. at 65,640. The

President did not specify which petition he was referring to, and Plaintiffs are not aware of any

petition having actually been submitted to the President.

       48.     Invenergy, SEIA, EDF-R, and the other plaintiff-intervenors filed motions in

Court No. 19-00192 to supplement their complaints to include challenges to the Modification

Proclamation and to modify the existing preliminary injunction to cover the Modification

Proclamation. The Court issued a temporary restraining order on October 24, 2020, barring the

Government from enforcing the Modification Proclamation. Invenergy Renewables LLC v.

United States, No. 19-00192, 2020 WL 6791576, at *1 (Ct. Int’l Trade Nov. 19, 2020). The

Court extended the temporary restraining order on November 6, 2020. Id. In an opinion issued

on November 19, 2020, the Court denied the motions to supplement the complaints and

concluded that any further recourse regarding the Modification Proclamation should be sought

through a separate action. Id. at *1, *9.

       49.     In the November 29, 2020 opinion, the Court also lifted the temporary restraining

order and denied the motion to modify the preliminary injunction. Id. CBP subsequently issued

a bulletin advising that “CBP will begin enforcing the revocation of the [bifacial module

exclusion] on merchandise entered or withdrawn from warehouse for consumption on or after

12:01 a.m. October 25, 2020.” U.S. Customs and Border Protection Cargo Systems Messaging

Service Message No. 45000915 (Nov. 27, 2020).




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Impact of the Modification Proclamation

       50.      The Modification Proclamation will cause significant economic and business

reputational harm to SEIA members, including Invenergy and EDF-R, and to NextEra. SEIA

estimates that the Modification Proclamation will result in hundreds of millions of dollars in

additional tariffs being applied to imported CSPV products, many of which are essential to

utility-scale solar projects. Domestic manufactures can supply only a minor fraction of the

projected overall demand for utility-scale solar projects. The Modification Proclamation will

therefore adversely impact the development of clean solar energy in the United States by raising

the cost of solar projects and solar energy, contrary to the interests of Plaintiffs. Fewer solar

projects means fewer jobs and fewer homes and businesses being powered by clean, renewable

solar energy.

       51.      Plaintiffs bring this complaint seeking a declaration that the President’s

Modification Proclamation is unlawful and to enjoin its enforcement.

       52.      NextEra and EDF-R also seeks an order that any increased Section 201 duties

collected from them pursuant to the Modification Proclamation to the extent they act as importer

of record be refunded, with interest.

                                   STATEMENT OF CLAIMS

       53.      In the following respects, the President’s Modification Proclamation and its

implementation are not in accordance with law.

                                           COUNT ONE

       (DECLARATORY JUDGMENT—VIOLATION OF SECTION 204 OF THE
                           TRADE ACT)

       54.      Paragraphs 1 through 53 of this Complaint are hereby incorporated by reference.




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       55.     A presidential action may be set aside if the President’s action involves “a clear

misconstruction of the governing statute, a significant procedural violation, or action outside

delegated authority.” Silfab Solar, Inc. v. United States, 892 F.3d 1340, 1346 (Fed. Cir. 2018);

Maple Leaf Fish Co. v. United States, 762 F.2d 86, 89 (Fed. Cir. 1985); Motion Systems Corp. v.

Bush, 437 F.3d 1356, 1361 (Fed. Cir. 2006) (en banc) (stating that court may consider whether

the President has violated an explicit statutory mandate). The Declaratory Judgment Act

authorizes any court of the United States to “declare the rights and other legal relations of any

interested party seeking such declaration, whether or not further relief is or could be sought.” 28

U.S.C. § 2201(a).

       56.     In modifying the CSPV safeguard measure, President Trump invoked Section

204(b)(1)(B), 19 U.S.C. § 2254(b)(1)(B). That section provides in relevant part that:

       Action taken under section 2253 of this title [Section 203 of the Trade Act] may
       be reduced, modified, or terminated by the President if the President . . .
       determines, after a majority of the representatives of the domestic industry
       submits to the President a petition requesting such reduction, modification, or
       termination on such basis, that the domestic industry has made a positive
       adjustment to import competition.

       57.     Section 204(b)(1)(B) authorizes modifications of a safeguard measure in response

to an industry petition only if they are trade liberalizing—as indicated by the fact that such

modifications can occur only if “the domestic industry has made a positive adjustment to import

competition.” Section 601(6) of the Trade Act of 1974 also explains that for purposes of the Act,

“[t]he term ‘modification,’ as applied to any duty or other import restriction, includes the

elimination of any duty or other import restriction,” which indicates that modifications under the

Act generally were intended by Congress to be trade liberalizing, rather than trade restricting. 19

U.S.C § 2481(6).




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       58.     Both changes to the CSPV safeguard measure proclaimed in the Modification

Proclamation—the withdrawal of the bifacial module exclusion and the increase in the duty rate

in year four of the measure—place further restrictions on trade. The changes to the CSPV

safeguard measure were therefore made in violation of the substantive limitations of Section 204

of the Trade Act governing modifications of safeguard actions and must be set aside as action

involving “a clear misconstruction of the governing statute . . . or action outside delegated

authority.” Silfab, 892 F.3d at 1346.

       59.     Section 204(b) of the Trade Act of 1974, 19 U.S.C. § 2254(b), also sets

procedural requirements that must be followed and requires certain findings to be made by the

President before a safeguard action can be modified. But those prerequisites to Presidential

action regarding the petition were not satisfied.

       60.     Among other things, the President failed to make the finding that is required in

order to take action under Section 204(b)(1)(B)—that “the domestic industry has made a positive

adjustment to import competition.” 19 U.S.C. § 2254(b)(1)(B) (emphasis added). Section

201(b)(1) provides that “a positive adjustment to import competition occurs when (A) the

domestic industry (i) is able to compete successfully with imports after actions taken under

section 2254 of this title terminate, or (ii) the domestic industry experiences an orderly transfer

of resources to other productive pursuits; and (B) dislocated workers in the industry experience

an orderly transition to productive pursuits.” 19 U.S.C. § 2251(b)(1). The President found only

that the domestic industry “has begun to make positive adjustments to import competition,”

Modification Proclamation, 85 Fed. Reg. at 65,640 (emphasis added), which is not a finding that

the industry “has made” the adjustment required for action under Section 204(b)(1)(B).




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       61.     Moreover, the President failed to show that “a majority of the representatives of

the domestic industry” submitted “a petition requesting such reduction, modification, or

termination on such basis.” The President did not identify the representatives of the domestic

industry that he claimed had petitioned for a modification, and the government has not published

the claimed petition or otherwise made it available for review. Upon information and belief, no

petition meeting the criteria of Section 204(b)(1)(B) was submitted to the President prior to his

issuance of the Modification Proclamation.

       62.     The changes to the CSPV safeguard measure proclaimed in the Modification

Proclamation—the withdrawal of the bifacial module exclusion and the change in the duty rate in

year four of the measure—were therefore made in violation of the procedural requirements of

Section 204 of the Trade Act governing modifications of safeguard actions. The Modification

Proclamation must therefore be set aside as action involving “a clear misconstruction of the

governing statute [or] a significant procedural violation.” Silfab, 892 F.3d at 1346.

                                         COUNT TWO

       (DECLARATORY JUDGMENT—VIOLATION OF SECTION 203 OF THE
                           TRADE ACT)

       63.     Paragraphs 1 through 62 of this Complaint are hereby incorporated by reference.

       64.     Section 203(e)(7) of the Trade Act of 1974, 19 U.S.C. § 2253(e)(7), does not

permit a safeguard measure to be re-imposed on an article for a period of two years after the

prior measure terminated.

       65.     The prior action terminated with respect to bifacial CSPV panels in June 2019,

when the exclusion for bifacial CSPV panels was granted. Accordingly, “no new action may be

taken” to re-impose a safeguard measure on those panels until June 2021 at the earliest.




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       66.     The withdrawal of the exclusion for bifacial CSPV modules in October 2020

results in the imposition of safeguard duties on those modules less than two years after a

safeguard measure was terminated with respect to those modules, in violation of Section

203(e)(7) of the Trade Act.

       67.     Accordingly, the Modification Proclamation’s withdrawal of the exclusion must

be set aside as action involving “a clear misconstruction of the governing statute, a significant

procedural violation, or action outside delegated authority.” Silfab, 892 F.3d at 1346.

                                        COUNT THREE

       (DECLARATORY JUDGMENT—VIOLATION OF SECTION 201 OF THE
                           TRADE ACT)

       68.     Paragraphs 1 through 67 of this Complaint are hereby incorporated by reference.

       69.     Section 201(a) of the Trade Act of 1974 provides that “the President, in

accordance with this part, shall take all appropriate and feasible action within his power which

the President determines will facilitate efforts by the domestic industry to make a positive

adjustment to import competition and provide greater economic and social benefits than costs.”

19 U.S.C. § 2251(a). Section 201 does not exclude action taken in accordance with Section 204

from the requirement that the action “provide greater economic and social benefits than costs.”

       70.     In issuing the Modification Proclamation, the President failed to consider and did

not make any determination regarding the relative economic and social benefits and costs before

modifying the safeguard measure.

       71.     The President therefore failed to comply with the procedural and substantive

requirements of the statute, and the Modification Proclamation must be set aside as action

involving “a clear misconstruction of the governing statute, a significant procedural violation, or

action outside delegated authority.” Silfab, 892 F.3d at 1346.


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                           DEMAND FOR JUDGMENT AND RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court:

       1.      Issue a declaratory judgment that the Modification Proclamation is unlawful and

therefore null and void;

       2.      Permanently enjoin Defendants, their agencies, officers, employees, and agents

from enforcing the Modification Proclamation;

       3.      Permanently enjoin Defendants from modifying the Harmonized Tariff Schedule

of the United States (“HTSUS”) to reflect the Modification Proclamation;

       4.      Order that any increased Section 201 safeguard duties collected directly from

NextEra or EDF-R pursuant to the Modification Proclamation be refunded, with interest; and

       5.      Provide such further relief as this Court deems just and proper.



                                             Respectfully submitted,


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